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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                     :      4:23-CR-159
                                             :
                   v.                        :      (Chief Judge Brann)
                                             :
CEDRIC LODGE,                                :
KATRINA MACLEAN,                             :
DENISE LODGE, and                            :
JOSHUA TAYLOR                                :      (Electronically Filed)

                                     ORDER

                          Date:___________________

      THE BACKGROUND OF THIS ORDER IS AS FOLLOWS:

      The above defendant’s were charged in an Indictment with various counts

regarding crimes including conspiracy to knowingly, intentionally, and willfully

unlawfully transport, transmit, and transfer in interstate commerce stolen goods,

wares and merchandise, of the value of $5,000 or more, knowing the same to have

been stolen, converted, and taken by fraud in violation of 18 U.S.C. § 371; and to

unlawfully transport, transmit, and transfer in interstate commerce stolen goods,

wares and merchandise, of the value of $5,000 or more, knowing the same to have

been stolen, converted, and taken by fraud in violation of 18 U.S.C. §§ 2314 and 2.

(Doc. 1).

      A scheduling order was filed to the docket on June 30, 2023 which set forth

case management instructions, guidelines, and the pretrial and trial schedule.
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(Doc. 43). Trial was initially scheduled to commence on August 7, 2023. Id. The

trial scheduled to commence in August was continued to October via an

uncontested motion of defense counsel. (Doc. 52). The trial scheduled to

commence in October was continued to December via an uncontested motion of

defense counsel. (Doc. 61).

      The failure to grant a continuance would likely result in a miscarriage of

justice. The ends of justice served by the granting of the continuance outweigh the

best interest of the public and the Defendant in a speedy trial.

      WHEREFORE, IT IS ORDERED:

1. This case is continued to the ________________________, 202__, trial list.

2. The jury selection currently scheduled to commence December 4, 2023, is

continued to________________________________, 202__, at the Harman T.

Schneebeli Federal Bldg. & U.S. Courthouse, 240 West Third Street, Williamsport,

Pennsylvania.

3. The deadline for filing pretrial motions and briefs is extended until

________________________________________, 202__.

4. The period of delay resulting from this continuance is excluded under the

Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A) and § 3161(h) (7)(B)(iv).


                                              ________________________
                                              Matthew W. Brann
                                              Chief United States District Judge
